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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 Preterm-Cleveland, et al.,                   :
                                              :
                Plaintiffs,                   : Case No. 1:19-cv-00360
                                              :
                vs.                           : Judge Michael R. Barrett
                                              :
 Attorney General of Ohio, et al.,            :
                                              :
                Defendants.                   :
                                              :
                                              :

                           TEMPORARY RESTRAINING ORDER

       This matter is before the Court on Plaintiffs’ Motion for a Temporary Restraining

Order and/or Preliminary Injunction. (Doc. 42). This matter is also before the Court on

Plaintiffs’ Motion to File a Supplemental Complaint. (Doc. 41).

  I.   BACKGROUND

       Plaintiffs—a collection of reproductive healthcare clinics and physicians providing

abortion care—filed their Initial Complaint in this matter in May 2019. The Initial Complaint

includes one count against Defendants challenging the constitutionality of Ohio Senate

Bill 23 of the 133rd General Assembly (“S.B. 23”) also known as the “Heartbeat Protection

Act.” (Doc. 1). Plaintiffs also filed a Motion for a Temporary Restraining Order and/or

Preliminary Injunction enjoining the enforcement of S.B. 23. (Doc. 2). In July 2019, the

Court granted Plaintiffs’ Motion for a Preliminary Injunction and enjoined Defendants from

enforcing or complying with S.B. 23 pending further Order of this Court. (Doc. 29). That

Order remains in effect.
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       Pertinent to the current Order, on March 9, 2020, the Governor of Ohio declared a

State of Emergency via Executive Order in light of COVID-19. (Doc. 41-1, PageID 698-

701). “COVID-19 is a respiratory disease that can result in serious illness or death, is

caused by the SARS-CoV-2 virus, which is a new strain of coronavirus that had not been

previously identified in humans and can easily spread person to person.” Id.

       On March 17, 2020, Defendant Director of the Ohio Department of Health, Amy

Acton, issued an order titled “RE: Director’s Order for the Management of Non-essential

Surgeries and Procedures throughout Ohio” (“Director’s Order”). Id. The Director’s Order

states, inter alia, that:

       1. Effective 5:00 p.m. Wednesday March 18, 2020, all non-essential or
       elective surgeries and procedures that utilized P[ersonal protective
       equipment (“PPE”)] should not be conducted.

       2. A non-essential surgery is a procedure that can be delayed without undue
       risk to the current or future health of a patient. Examples of criteria to
       consider include:
              a. Threat to the patient’s life if surgery or procedure is not performed;
              b. Threat of permanent dysfunction of an extremity or organ system;
              c. Risk of metastasis or progression of staging; or
              d. Risk of rapidly worsening to severe symptoms (time sensitive).

       5. . . . This Order shall remain in full force and effect until the State of
       Emergency Declared by the Governor no longer exists, or the Director of
       the Ohio Department of Health rescinds or modifies this Order.

Id. Defendant Acton states that the Order’s purposes are to “prevent[] the spread of

contagious or infectious diseases” and “preserv[e PPE] and critical hospital capacity and

resources within Ohio.” Id. A violation of the Director’s Order is a second-degree

misdemeanor. See Ohio Rev. Code. § 3701.352.

       On March 20, 2020 and March 21, 2020, Defendant Attorney General of Ohio,

Dave Yost, sent letters to Plaintiffs Planned Parenthood Southwest Ohio Region,



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Preterm-Cleveland, and Women’s Med Group Professional Organization citing the

Director’s Order and stating that “[t]he Ohio Department of Health has received a

complaint that your facility has been performing or continues to offer to perform surgical

abortions, which necessarily involve the use of PPE.” (Doc. 42-1, PageID 807); (Doc. 42-

2, PageID 820); (Doc. 42-4, PageID 845). Defendant Yost ordered Plaintiffs “to

immediately stop performing non-essential and elective surgical abortions.” Id. Defendant

Yost concluded that, “[i]f you or your facility do not immediately stop performing non-

essential or elective surgical abortions in compliance with the attached order, the

Department of Health with take all appropriate measures.” Id.

      On March 30, 2020, Plaintiffs filed their Motion to File a Supplemental Complaint

and Motion for a Temporary Restraining Order and/or Preliminary Injunction. (Docs. 41,

42). The proposed Supplemental Complaint seeks to add a constitutional challenge to the

Director’s Order as applied to surgical abortion procedures. (Doc. 42-1). The Motion for

a Temporary Restraining Order and/or Preliminary Injunction requests that the Court

temporarily enjoin Defendants from enforcing the Director’s Order in a way that would

ban surgical abortion in Ohio. (Doc. 42).

      The Court held two informal telephone conferences on March 30, 2020 pursuant

to S.D. Ohio Civ. R. 65.1 and Plaintiffs advised the Court of their preference for an

immediate ruling on their Motion for a Temporary Restraining Order as they have

scheduled surgical abortion surgeries this week.




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 II.   ANALYSIS

          a. Standard of Review

                 i. Motion to File Supplemental Complaint

       Rule 15(d) of the Federal Rules of Civil Procedure governs supplemental pleadings

and permits a party to move to file, and the Court to permit, “a supplemental pleading

setting out any transaction, occurrence, or event that happened after the date of the

pleading to be supplemented.” FED. R. CIV. P. 15(d). “Rule 15(d) aims ‘to give the court

broad discretion in allowing a supplemental pleading.’” Ne. Ohio Coal. for the Homeless

v. Husted, 837 F.3d 612, 625 (6th Cir. 2016) (citing FED. R. CIV. P. 15(d) advisory

committee's note to 1963 amendment).

                 ii. Motion for Temporary Restraining Order

       Under Federal Rule of Civil Procedure 65, the purpose of a temporary restraining

order is to preserve the status quo so that a reasoned resolution of a dispute may be had.

See, e.g., Procter & Gamble Co. v. Bankers Trust Co., 78 F.3d 219, 227 (6th Cir. 1996).

       In the Sixth Circuit, the standard for obtaining a temporary restraining order and

the standard for obtaining a preliminary injunction are the same. Workman v. Bredesen,

486 F.3d 896 (6th Cir. 2007). In determining whether to grant or deny a temporary

restraining order or a preliminary injunction, the Court must consider four factors:

“(1) whether the movant has a strong likelihood of success on the merits; (2) whether the

movant would suffer irreparable injury without the injunction; (3) whether issuance of the

injunction would cause substantial harm to others; and (4) whether the public interest

would be served by issuance of the injunction.” City of Pontiac Retired Emps. Ass'n v.

Schimmel, 751 F.3d 427, 430 (6th Cir. 2014) (per curiam) (en banc) (internal quotation



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marks omitted). Due to the urgency of the situation, the Court will decide whether

temporary injunctive relief is warranted based on Plaintiffs’ Motion (Doc. 42), along with

the affidavits and documents filed in the record as of the date of this Order, and the two

telephonic conferences held on March 30, 2020. See FED. R. CIV. P. 65.

          b. Holdings

                  i. Motion to File Supplemental Complaint

       The facts in Plaintiffs’ Initial Complaint (Doc. 1) are sufficiently related to the facts

in Plaintiffs’ proposed Supplemental Complaint (Doc. 41-1) such that the Court will allow

Plaintiffs’ supplemental pleading. See Ne. Ohio Coal. for the Homeless, 837 F.3d at 625.

The Court finds that the combination of the overlapping subject matter, the Court’s

familiarity with that subject matter, and the Court’s prior entry of a Preliminary Injunction

related to that subject matter favor allowing the supplemental pleading. See id.

                  ii. Motion for Temporary Restraining Order

       The Court concludes, for the reasons required under Federal Rule of Civil

Procedure 65(d), that Plaintiffs have shown (1) a likelihood of success on the merits of at

least one of its claims; (2) that Plaintiffs and their patients will suffer irreparable harm if

an injunction is not issued; (3) that the balance of harm favors Plaintiffs; and (4) that the

public interest weighs in favor of granting a temporary restraining order. See Hoover

Transp. Servs., Inc. v. Frye, 77 F. App’x 776, 781 (6th Cir. 2003) (“If [plaintiffs] can show

a likelihood of success on the merits of any of the claims, an injunction may issue, subject

to consideration of the other factors.”).

       The law is well-settled that women possess a fundamental constitutional right of

access to abortions. Roe v. Wade, 410 U.S. 113, 153-54 (1973). Yet the right to terminate



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a pregnancy is not absolute: “[A] state may regulate abortion before viability as long as it

does not impose an ‘undue burden’ on a woman’s right to terminate her pregnancy.”

Women’s Med. Prof’l Corp. v. Taft, 353 F.3d 436, 443 (6th Cir. 2003) (quoting Planned

Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833, 876 (1992) (emphasis added)).

“[T]here ‘exists’ an ‘undue burden’ on a woman's right to decide to have an abortion, and

consequently a provision of law is constitutionally invalid, if the ‘purpose or effect’ of the

provision ‘is to place a substantial obstacle in the path of a woman seeking an abortion

before the fetus attains viability.’” Whole Woman's Health v. Hellerstedt, 136 S. Ct. 2292,

2300 (2016) (quoting Casey, 505 U.S. at 878 (emphasis added in Hellerstedt)).

       Defendant Yost’s letters to Plaintiffs suggest his determination that surgical

abortions are non-essential surgeries and thus are subject to the Director’s Order. See

(Doc. 42-1, PageID 807); (Doc. 42-2, PageID 820); (Doc. 42-4, PageID 845). Defendant

Yost’s statements and order in those letters, without more guidance, implicate Plaintiffs’

patients’ Fourteenth Amendment rights. In balancing the four relevant factors and at this

stage in the proceedings, Plaintiffs have shown a likelihood of success on the merits on

its claim that enforcement of the Director’s Order as applied to surgical abortion

procedures will result in an unconstitutional deprivation of Plaintiffs’ patients’ Fourteenth

Amendment right to substantive due process because enforcement creates a substantial

obstacle in the path of patients seeking pre-viability abortions, thus creating an undue

burden on abortion access.

       Turning to the factor of irreparable harm, Plaintiffs argue that their patients will

suffer serious and irreparable harm in the absence of a temporary restraining order and/or

preliminary injunction, as the Director’s Order prevents Ohio women from exercising their



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constitutional right to reproductive freedom as protected by the Fourteenth Amendment. 1

(Doc. 42). Inasmuch as this Court has determined that the Director’s Order likely places

an “undue burden” on a woman’s right to choose a pre-viability abortion, and thus violates

her right to privacy guaranteed by the Fourteenth Amendment, the Court further

determine that its enforcement would, per se, inflict irreparable harm.

        With regard to the remaining factors concerning harm to others and the public

interest, Plaintiffs assert that their patients will suffer numerous irreparable harms without

injunctive relief and, given the indeterminate length of the Director’s Order, some could

be forced to forgo an abortion entirely and carry an unwanted pregnancy to term. (Doc.

42). Defendants have not demonstrated to the Court, at this point, that Plaintiffs’

performance of these surgical procedures will result in any beneficial amount of net saving

of PPE in Ohio such that the net saving of PPE outweighs the harm of eliminating

abortion. These favors weigh in Plaintiffs’ favor. See Am. Freedom Def. Initiative v.

Suburban Mobility Auth. for Reg’l Transp., 698 F.3d 885, 896 (6th Cir. 2012); Jackson

Womens’ Health Org. v. Currier, 940 F. Supp. 2d 416, 424 (S.D. Miss. 2013).

        Accordingly, a temporary restraining order is proper. In that regard, and

understanding the novel intersection between the foregoing legal precedent in Roe,

Casey, and Hellerstedt that emphasizes the Fourteenth Amendment’s guarantee of the

right to reproductive freedom and Ohio’s interest in protecting its citizens during the

evolving COVID-19 emergency, the Court holds that Plaintiff healthcare providers are to

determine if a surgical abortion procedure can be safely postponed during the pre-viability



1 While clinics and physicians do not possess a constitutional right to perform abortions, they have standing
to assert constitutional challenges on behalf of their patients in the abortion context. See Planned
Parenthood of Greater Ohio v. Hodges, 917 F.3d 908 (6th Cir. 2019).

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stage to maximize healthcare resources to combat the COVID-19 pandemic. If a

healthcare provider determines, on a case-by-case basis, that the surgical procedure is

medically indicated and cannot be delayed, based on the timing of pre-viability or other

medical conditions, said procedure is deemed legally essential to preserve a woman’s

right to constitutionally protected access to abortions.

III.   CONCLUSION

       For the foregoing reasons, it is hereby ORDERED that Plaintiffs’ Motion to File a

Supplemental Complaint (Doc. 41) is GRANTED. It is further ORDERED that Plaintiffs’

Motion for a Temporary Restraining Order and/or Preliminary Injunction (Doc. 42) is

GRANTED IN PART, to the extent that it seeks a temporary restraining order, and HELD

IN ABEYANCE IN PART, to the extent that it seeks a preliminary injunction. Specifically,

it is hereby ORDERED that Defendant; Defendant’s officers, agents, servants,

employees, and attorneys; and those persons in active concert or participation with them

who receive actual notice of the order are TEMPORARILY RESTRAINED from enforcing

the Director’s Order against Plaintiffs as described above.

       This Temporary Restraining Order is effective upon entry and expires fourteen (14)

days thereafter unless dissolved earlier or extended by the Court. There is no bond

requirement. See Molton Co. v. Eagle-Picher Indus., Inc., 55 F.3d 1171, 1176 (6th Cir.

1995) (district court has discretion to issue preliminary injunction with no bond).

       IT IS SO ORDERED.
                                                  _s/ Michael R. Barrett________
                                                  Michael R. Barrett, Judge
                                                  United States District Court




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